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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

S2S COMMONS ASSOCIATES, LLC,                  )
                                              )
                            Plaintiff,        )
                                              )
v.                                            )   Case No. CIV-18-103-C
                                              )
FIRST SPECIALTY INSURANCE                     )
CORPORATION,                                  )
                                              )
                            Defendant.        )

                                          ORDER

       Although the Plaintiff requested dismissal citing Fed R. Civ. P. 41(a)(2), this Court

finds that Plaintiff’s motion should be properly construed as a Notice of Dismissal under

Fed. R. Civ. P. 41(a)(1).

       Fed. R. Civ. P. 41(a)(1) permits a plaintiff to dismiss his case without court order at

any time prior to the filing of an answer or motion for summary judgment. Neither has

occurred. Accordingly, this Court finds Plaintiff’s motion is proper and this action is

deemed DISMISSED without prejudice as of the filing of its Motion for Dismissal (Dkt.

No. 16). No further action by the Court is warranted or permitted. All pending motions

are STRICKEN as moot.

       IT IS SO ORDERED this 17th day of May, 2018.
